                Case 7:24-cv-00132                 Document 79-5      Filed on 07/01/25 in TXSD                Page 1 of 2

 STARR COUNTY SHERIFF'S OFFICE
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                                                                                  Case #: 2022-00085
                                                                                             °
                                                                                                                                      1
 102 E. 6th Street                                                           Report Type: tmeident Report                    Page 1 of 2
 Rio Grande City, TX 78582                                                       Reason:
 (956) 487-5571                                                              Report Date: 1/11/2022
                                                                                    Titles       DEATH INVESTIGATION


 CASE      #:   2022-00085                               [_]Cargo Theft      INVESTIGATING          OFFICER:
 Incident Date/Time:        1/11/2022 1:19:55 PM
                                                                             Rosa, Ranell ey
 Location: 102 E. 6th Street
                Rio Grande City, TX 78582
                                                                          SIGNATURE:
 Suspect Name                              DOB         DLAD#                 REGION/DISTRICT/SGT. "AREA:         Texas
 Suspect Information Unknown                                                 ee                  SUPERVISOR:


                                                                             SIGNATURE:
                                                                                    we               fF
                                                                                                                  ar
WITNESS
Name:                 HERRERA, LIZELLE
Address:              30 ROBIN DR
County:                --
City, State, Zip:      FALCON       HEIGHTS, TX 78545


DOB:                   12/07/1995                              DL Number:           38341640 TX
Race/Gender:           White / Female                          ID Card Number:      ~~
Ethnicity:             Hispanic                                SSN:                 Unknown
Height/Weight:         5° 02" / 186 Ibs.                       Home Phone:          (956) 437-0905
Build:                 Medium                                  Cell Phone:          Unknown
Hair/Eyes:             Brown / Brown                           Occupation:          --
Complexion:            Light                                   Employer:            ~<
                                                               Work Phone:          --
Alias:                 ~--
Marks:                 oo
Tattoos:               ---
Disabilities:          nee




 EVIDENCE           INFORMATION:
            EVIDEN
Evidence Collected:             [X] Yes      [_]No
Evidence Type:                  Body Camera




                                                   CONFIDENTIAL EXHIBIT #1
              Case 7:24-cv-00132           Document 79-5           Filed on 07/01/25 in TXSD              Page 2 of 2

 STARR COUNTY SHERIFF'S OFFICE                                                  Case #: 2022-00085                              2
 102 E. 6th Street                                                   Report
                                                                         Type: Incident Report                         Page 2 of 2
 Rio Grande City, TX 78582                                            Report Date:   1/11/2022
 (956) 487-5571                                                              Title) DEATH INVESTIGATION

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         On January 11, 2022, at about 1:19 PM, |, Deputy Ranell Rosa #134 was radio dispatched to the Starr County Memorial
Hospital in reference to an incident.

     Upon arrival | met with Rio Grande City Police Department investigator Roy Pena who briefed me on the ongoing incident In
question. | later spoke with the Starr County Memorial Hospital charge nurse Martha Torres (956-534-4215). Martha stated she
wishes to document a report in regards to Texas abortion restriction law (SB 8). Marth stated that on 01/07/2022 (evening
hours), a female by the name of Lizelle Herrera (DOB: 12/07/1995) arrived at the aforementioned hospital, and stated she was
about twenty weeks pregnant. Lizelle stated she felt pain in her abdomen, upon further examination, the physician discovered
what appeared to be pill residue. Lizelle later stated to the physician she had inserted an unknown pill into her vaginal cavity,
which she purchased In the country of Mexico, in effort to induce the labor of the unborn child. Lizelle stated she Induced labor
with the foreign substance (pill) after a verbal argument ensued between her, and Ismael Herrera (Spouse). The physician was
able to Intervene, and successfully stop the medically induced labor pursued on Lizelle’s behalf. Before Lizelle was discharged
at about noon on 01/08/2022, the unborn child that was later classified as “Boy Herrera” had a steady heartbeat. Lizelle returned
to the hospital, in the later hours of the same day with Boy Herrera partially protruding from her vaginal cavity. For Lizelle's
safety, the physician conducted an emergency surgery to remove Boy Herrera from Lizelle’s person.

     | was informed by Martha Torres, Lizelle had three other children of her own at her residence located at 30 Robin Drive.
Child Protective Services (CPS) was later contacted, and informed of the situation. | spoke with CPS case-worker Megan (ID:
5211), who provided me with reference number: 75851761.




                                           CONFIDENTIAL EXHIBIT #1
